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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                        CIVIL ACTION NO. 4:06CR124-P-B

ERWIN DAVID RABHAN


                                             ORDER

       This cause comes before the Court on the Motion of Defendant Erwin David Rabhan to

Compel [doc. 76] and the government’s Response [doc. 81] in opposition.

       Essentially, Defendant seeks an order of this Court compelling the government to disclose

prior to trial any statements from witnesses and/or the names of potential witnesses and Jencks Act

material on the ground that it would take defendant in excess of a year to locate and interview

potentially hundreds of people from whom the government may have already obtained statements.

       The Court, having given due consideration to the submissions of the parties, agrees with the

government that neither the Federal Rules of Criminal Procedure nor the Jencks Act require

production of the requested information prior to trial. Accordingly, the instant motion is denied.

       SO ORDERED this 30th day of March, 2007.



                                                                  /s/ Eugene M. Bogen
                                                                  U. S. MAGISTRATE JUDGE
